                        Case 2:17-mc-01183-VEH Document 1 Filed 07/14/17 Page 1 of 3                                                                                  FILED
                                                                                                                                                              2017 Jul-14 PM 01:47
AO 45 I (Rev. 12/12) Clerk's Certification of a Judgment to be Registered in Another District                                                                U.S. DISTRICT COURT
                                                                                                                                                                 N.D. OF ALABAMA

                                         UNITED STATES DISTRICT COURT 

                                                                            for the
                                                             Eastern District of Kentucky

                  Citizens National Bank
                                                                                                                       '!
                                                                                                                            ..
                                                                                                                            i U          il: 20
                             Plaintiff                                                               I 1 C',! ':., ','            ,~C,:'J.,1 -;',
                                                                                )
                                v.                                                              Civif-~P:tip'li-'~d;          ; 6:17-Cy ~-~ I-OCR
                                                                                )                      .....   ,-­


                                                                                )
     Williams Communications, Inc., Walton E.
                                                                                )
        Williams and Melinda E. Williams                                                   2: 17-mc-01183-VEH
                                                                                )
                            Defendant




        CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


          I certify that the attached judgment is a copy of a judgment entered by this court on                                      (date)            6/8/2017

        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed Of, if one was filed, it is no longer
pending.


Date:            07113/2017
                                                                                            CLERK OF COURT

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                                                                                                                     Signature a/Clerk or           puty Clerk
               Case 2:17-mc-01183-VEH Document 1 Filed 07/14/17 Page 2 of 3
Case: 6:17-cv-00031-DCR               Doc #: 18 Filed: 06/08/17 Page: 1 of 2 - Page ID#: 138
                                                                                        Eastern D1str1ct of Kentueky
                                                                                                  F I LED
                                                                                                 JUN 08 2017
                             IN THE UNITED STATES DISTRICT COURT
                                                                                                     AT lEXtNGTON
                           FOR THE EASTERN DISTRICT OF KENTUCKY     ROBERT R. CARR
                                      LONDON DIVISION           CLERK U.S. DISTRICT COURT


CITIZENS NATIONAL BANK,                             )

                                                    )

                     Plaintiff,                     )

                                                    )
v. 	                                                )
                                                            CASE NO. 6: 17-CV-00031-DCR
WILLIAMS COMMUNICATIONS, INC.;                      )
WALTON E. WILLIAMS, JR.; and                        )
MELL~DA E. WILLIAMS, 	                              ~
                                                    )
                     Defendants.



                                              JUDGMENT

              Pursuant to Rule 55(b)(J) of the Federal Rules of Civil Procedure, Plaintiff Citizens
                                                                    H
National Bank filed its A-fotiofl for Default Judgment ("Motion         )   against Defendants Williams

Communications, Inc., Walton E. Williams, Jr., and Melinda E. Williams. (D.N.                     &.)       Default

was entered against Defendants on April 11, 2017. (D.N. 15.) Defendants failed to file and

timely serve any written responses to Plaintiff's Motion. This Court granted Plaintiffs Motion.

(D.N. _.) Therefore. it is

ORDERED, ADJUDGED, and DECREED

              (1)   Judgment is hereby entered in favor of Citizens National Bank and against

Williams Communications, Inc., Walton E. Williams, Jr., and Melinda E. Williams (the

"Defendants"), jointly and severally, in the amount $629,832.21. This amount is comprised of

$313,843.87 in principal, $296,6]9.76 in interest, and $19,368.58 in reasonable attorneys' fees

and expenses.

              (2)   Citizens National Bank is awarded post-judgment interest to accrue on the

outstanding judgment at the rate set forth in 28 U.S.C. § 1961, until the judgment is paid in full.



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               Case 2:17-mc-01183-VEH Document 1 Filed 07/14/17 Page 3 of 3
Case: 6:17-cv-00031-0CR Doc #: 18 Filed: 06/08/17 Page: 2 of 2 - Page 10#: 139




              (3)   Having no just reason for delay, this is a final Judgment in accordance with Fed.

R. Civ. P. 54(b) against the Defendants, jointly and several1Yt for which execution may issue 14

days after the date of entry hereof pursuant to Fed. R. Civ. P. 62(a).




                                                              ~~
                                                             U.S. DISTRICT      JUDGE
                                                        EASTERN DISTRICT OF KENTUCKY
                                                               ?::YI ~d r;~,i.L S; cz)/ ?,

TENDERED BY:

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